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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Samuel Edwards, Supervisory Detention and Deportation Officer with U.S. Immigration and

Customs Enforcement (ICE), Enforcement and Removal Operations (ERO), being duly sworn,

depose and state under penalty of perjury that the following is true to the best of my information,

knowledge and belief.

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Supervisory Detention and Deportation Officer with ICE and have

held the position since August of 2016. I previously held the titles of Deportation Officer

and Immigration Enforcement Agent from May of 2005 until August of 2016. I am

currently station in Centennial, Colorado, at the Denver Field Office, assigned to the

Violent Criminal Alien Section (VCAS). I have completed training at the Federal Law

Enforcement Training Center (FLETC), in Glynco, Georgia.

       2.      The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents, law enforcement

officials, and witnesses. This affidavit is intended to show merely that there is sufficient

probable cause for the requested arrest warrants and criminal complaints and does not set

forth all my knowledge about this matter.

       3.      I submit probable cause exists to believe that, on or about June 16, 2019,

in the State and District of Colorado, Carlos Robert Perez-Rodriguez, Douglas Daniel

Amaya-Arriaga, and Amilcar Enrique Aguilar-Hernandez did escape from the GEO

Contract Detention Facility, after having been detained for immigration proceedings in

violation of 86&RGHௗ D - Prisoners in custody of institution or officer.
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                       FACTS IN SUPPORT OF PROBABLE CAUSE

                                   Background about Defendants

       4.      Carolos Robert Perez-Rodriguez, date of birth 07/19/2000, Alien Registration

Number A201 735 930: I have reviewed a criminal history for PEREZ-RODRIGUEZ and did

not locate any prior felony convictions. However, PEREZ-RODRIGUEZ is currently in

administrative proceedings for a violation of 8 U.S. Code § 1325.

       5.      Douglas Daniel Amaya-Arriaga, date of birth 07/22/2000, Alien Registration

Number A201 735 930: I have reviewed a criminal history for AMAYA-ARRIAGA and did not

locate any prior felony convictions. However, AMAYA ARRIAGA is currently in

administrative proceedings for a violation of 8 U.S. Code § 1325.

       6.      Amilcar Enrique Aguilar-Hernandez, date of birth 04/29/1996, Alien Registration

Number A88 511 791: I have reviewed a criminal history for AMAYA-ARRIAGA and found

that on August 20, 2018, he was convicted of Felony Trespass 1 – Dwelling, in violation of

Colorado Revised Statute 18-4-502, and sentenced to two (2) years of probation. AGUILAR-

HERNANDEZ is currently in administrative proceedings for a violation of 8 U.S. Code § 1325.

                                      Escape on June 16, 2019

       7.      On June 16, 2019, at approximately 12:29a.m. MST, three detainees at the

Aurora, Colorado, GEO Contract Detention Facility, Carlos Robert PEREZ-RODRIGUEZ,

Douglas Daniel AMAYA-ARRIAGA, and Amilcar Enrique AGUILAR-HERNANDEZ, escaped

from the south building recreation yard by scaling a concrete wall and manipulating the

recreation yard perimeter fence.
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                                      CONCLUSION

       8.      Based on the facts set forth above, I submit that probable cause exists to believe

that, on or about June 16, 2019, in the State and District of Colorado, PEREZ-RODRIGUEZ,

AMAYA-ARRIAGA, and AGUILAR-HERNANDEZ did escape from any institution or facility

in which they were confined by direction of the Attorney General, or his authorized

representative, after having been confined for expulsion proceedings under the immigration laws

LQYLRODWLRQRI86&RGHௗ D  Therefore, I respectfully request the issuance of arrest

warrants and criminal complaints charging the same.



I, Samuel Edwards, being duly sworn according to law, depose and say that the facts stated in the

foregoing affidavit are true and correct to the best of my knowledge, information, and belief.


                                                     s/Samuel Edwards
                                                     Samuel Edwards
                                                     SDDO ICE ERO

Submitted, attested to, and acknowledged by reliable electronic means on June 16, 2019.



                                              ____________________________
                                              Hon. KRISTEN L. MIX
                                              United States Magistrate Judge



Affidavit reviewed and submitted by Garreth Winstead, Assistant United States Attorney.
